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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                         Case No. 19-24543-CIV-GRAHAM


  LIBERTY MUTUAL FIRE INSURANCE COMPANY,

        Plaintiff,

        v.

  KAREN ANNE OLSON, CARILLON HOTEL, LLC,
  AND ANTIAGERX, LLC,
       Defendants.
                                     /

                                      ORDER

        THIS CAUSE came before the Court on Plaintiff’s Motion for

  Entry of Default Judgment as to AntiAgeRx, LLC. [D.E. 43].

        On January 29, 2020, Plaintiff filed its Amended Complaint,

  which alleges that Defendant, AntiAgeRx, LLC, through the actions

  of its managing member and registered agent, Elaine Kroytor, is

  concealing its whereabouts and evading service. [D.E. 14]. On

  February 19, 2020, a copy of the process and Amended Complaint was

  accepted by the Secretary of State for Defendant, AntiAgeRx, LLC.

  [D.E.      25-2].   Pursuant   to   Federal   Rule   of   Civil   Procedure

  12(a)(1)(A)(i), AntiAgeRx, LLC was required to file a responsive

  pleading within twenty-one (21) days of service of Plaintiff’s

  Amended Complaint, on or before March 11, 2020. To date, Defendant,

  AntiAgeRx, LLC has failed to file or serve any paper or pleading in

  this action. AntiAgeRx, LLC has not otherwise entered an appearance

  in this action, either personally or by a representative. As a

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  result, on March 12, 2020, Liberty moved for entry of Clerk’s

  Default as to AntiAgeRx, LLC pursuant to Fed. R. Civ. P. 55(a).

  [D.E. 30]. An order of the Clerk’s Default was entered on March 13,

  2020. [D.E. 32].

        It appearing that the defendant, AntiAgeRx, LLC, is in default

  for failure to appear, answer or otherwise plead to the complaint

  filed herein within the time required by law, it is

        ORDERED AND ADJUDGED that Plaintiff’s Motion for Default

  Judgment as to AntiAgeRx, LLC [D.E. 43] is GRANTED. It is further

        ORDERED AND ADJUDGED that final judgment is hereby entered

  against defendant, AntiAgeRx, LLC.



        DONE AND ORDERED in Chambers at Miami, Florida, this 11th day

  of May, 2020.



                                           s/ Donald L. Graham
                                           DONALD L. GRAHAM
                                           UNITED STATES DISTRICT JUDGE




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